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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA )
                         )
                         )
                         )
           V.            )                     CR. NO. 21-561(RJL)
                         )
                         )
JOSEPH VINCENT SMITH     )
           Defendant     )


JOSEPH VINCENT SMITH’S MOTION FOR REVOCATION OF DETENTION ORDER

      AND PLACEMENT IN THE HIGH INTENSITY SUPERVISION PROGRAM

       COMES NOW, JOSEPH VINCENT SMITH, defendant, through undersigned

counsel Dwight E. Crawley, pursuant to 18 U.S.C. §3145(b) and respectfully requests

that this Honorable Court revoke the detention order of the magistrate court and order

defendant’s release pending trial of this matter. As grounds for this motion, Mr. Smith

states the following:

                                         BACKGROUND

1.     Mr. Smith is charged with multiple crimes involving possession of a firearm by a person

convicted of a crime punishable by imprisonment for a term exceeding a year; conspiracy to

defraud the United States; and Importing/Manufacturing Firearms (Indictment attached).


2.     The matter was called for a detention hearing on September 30, 2021, before the

Honorable Magistrate Judge Faruqui. At the time of the hearing, Mr. Smith did not challenge his

detention. Rather, he waived his right to have the magistrate court make factual findings

concerning his detention and reserved his right to seek his release later, before this court.

                               FACTORS TO BE CONSIDERED
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      Title 18 U.S.C. §3142(g) specifies the factors to be considered in determining whether there

are conditions of release that will reasonably assure the appearance of the person at trial as well as

provide for the safety of the community. Those factors are:


     (1) The nature and circumstances of the offense charged including whether the offense is a

  crime of violence or involves a narcotic drug;


     (2) The weight of the evidence against the person;

     (3) The history and characteristics of the person—
         i. The person’s character, physical and mental condition, family ties, employment,

  financial resources, length of residence in community, community ties, past conduct, history

  relating to drug or alcohol abuse, criminal history, and record concerning appearance at court

  proceedings; and

         ii. Whether, at the time of the current offense or arrest, the person was on probation, on

  parole, or on other release while pending trial, sentencing, appeal, or completion of sentence for

  an offense under Federal, State, or local law; and

     (4) The nature and seriousness of the danger to any person or the community that would be

  posed by the person’s release.

                                            ARGUMENT

         In this case, the government does not have any evidence to assert that Mr. Smith is

  currently a risk of flight or a danger to the community at this time. The defendant’s last

  conviction appears to be in 2011. He has never missed a court appearance at any point in his

  life. His actions in this case do not involve crimes of violence. He has been incarcerated for

  more than six weeks and presumably those involved in his illegal conduct are aware of this and



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are not likely to have contact with him. He is a life-long resident of the District of Columbia.

He does not possess the resources or relationships to flee. The court’s ability to place him in the

High Intensity Supervision Program would restrict his movement and keep him under the control

of the court through the United States Pretrial Services Office.

        WHEREFORE, counsel respectfully requests that this court grant Mr. Smith’s motion

for release and placement in the High Intensity Supervision Program.

                                                Respectfully submitted
                                                JOSEPH VINCENT SMITH

                                                                 /s/
                                                ________________________________
                                                Dwight E. Crawley, Esq.
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of November, 2021, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will send a notification of such filing
(NEF) to all attorneys of record.

                                                                /s/
                                                ________________________________
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